   Case 3:11-cr-30153-DRH     Document 105 Filed 05/21/12       Page 1 of 3   Page ID
                                        #252



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

  UNITED STATES OF AMERICA,

                            Plaintiff,

               vs.                                 NO. 11-cr-30153-DRH

  PIERRE L. KNOWLES, JR.,

                            Defendant.


        PRELIMINARY ORDER OF FORFEITURE PURSUANT TO
             FED.R.CRIM.P 32.2 WITH RESPECT TO A
              FIREARM OF PIERRE L. KNOWLES, JR.

HERNDON, Chief Judge:

      In the Indictment filed in the above cause on September 8, 2011, the United

States sought forfeiture of property of defendant, Pierre L. Knowles, Jr., pursuant to

18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c). The court, upon consideration of guilty

plea in this matter, hereby finds that the following property is forfeitable and hereby

orders forfeited the following property:

             One Norinco SKS, 7.62 caliber semi-automatic rifle, bearing serial
             number 220304, loaded with at least 12 rounds of ammunition.

      The United States shall, under the authority of 21 U.S.C. § 853(n)(1) to “publish

notice of the order and of its intent to dispose of the property in such matter as the

Attorney General may direct,” provide notice of the forfeiture and the right of persons

other than the defendant who have any claim or legal interest in any of the property to



                                         Page 1 of 3
   Case 3:11-cr-30153-DRH       Document 105 Filed 05/21/12        Page 2 of 3    Page ID
                                          #253



file a petition with the Court. The notice shall be provided in a manner consistent with

Supplemental Rule G(4)(a) of the Supplemental Rules for Admiralty or Maritime Claims

and Asset Forfeiture Actions.

      The notice shall state that the petition shall be set for a hearing to adjudicate the

validity of the petitioner's alleged interest in the property, shall be signed by the

petitioner under penalty of perjury, and shall set forth the nature and extent of the

petitioner's right, title, or interest in the forfeited property and any additional facts

supporting the petitioner's claim for relief.

      The United States shall, also to the extent practicable, provide direct written

notice to any person known to have alleged an interest in the property that is the

subject of the Order for Forfeiture, as the substitute for the published notice to those

persons so notified.

      Upon the filing a petition alleging the third-party interests in the property, the

court may amend this order to resolve the claimed third-party interests.

      The United States Marshal or the property custodian for the Bureau of Alcohol,

Tobacco, Firearms, and Explosives shall seize and reduce to his possession, if he has

not already done so, the above-described property.

      This Order, pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal

Procedure, shall become final with respect to Defendant Pierre L. Knowles, Jr. at the

time of the Defendant’s sentencing, regardless of whether or not the rights of actual or

potential third-party petitioners have been determined by that time. This Order shall

be made part of the sentence of Defendant Pierre L. Knowles, Jr. and shall be included

                                       Page 2 of 3
   Case 3:11-cr-30153-DRH      Document 105 Filed 05/21/12          Page 3 of 3   Page ID
                                         #254



in the Judgment imposed against the Defendant. This Order is a final order with

respect to the Defendant, and this Order may be amended with respect to petitions filed

by third-parties claiming an interest in the subject-matter forfeited property.

      The United States may abandon forfeiture of the property by filing notice of the

abandonment with the Court.

      The United States has informed the Court and defendant that the Masterpiece

Arms, 9mm, semi-automatic pistol, bearing serial number F8667, loaded with at least

nine rounds of ammunition and seized from the defendant is a stolen firearm, is not

subject to forfeiture, and shall be returned to its lawful owner.

      IT IS SO ORDERED.
                                                                          Digitally signed by
      Signed this 21st day of May, 2012.
                                                                          David R. Herndon
                                                                          Date: 2012.05.21
                                                                          09:41:36 -05'00'
                                                     Chief Judge
                                                     United States District Court




                                       Page 3 of 3
